                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

 JENNIFER CAMPBELL,                                  )
                                                     )
                 Plaintiff,                          )
                                                     )
 v.                                                  )   No. 3:07-0558
                                                     )   JUDGE ECHOLS
 PROMETHEUS LABORATORIES, INC.,                      )
                                                     )
                 Defendant.                          )
                                                     )

                                        MEMORANDUM

         Pending before the Court is Defendant Prometheus Laboratories, Inc.’s Motion To Dismiss

Plaintiff’s Complaint (Docket Entry No. 22), and Plaintiff’s Motion For Leave To Amend Complaint

(Docket Entry No. 33). The parties have responded in opposition to these motions.

         Invoking this Court’s federal and diversity jurisdiction, Jennifer Campbell (“Plaintiff”)

alleged in the Complaint that Prometheus Laboratories, Inc., (“Defendant”) discriminated against

her on the basis of disability when Defendant terminated her employment effective October 2, 2006,

in violation of the Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12101 et seq. (“the

ADA”), and the California Fair Employment and Housing Act (“FEHA”), Gov’t Code § 12940.

She also alleged that Defendant breached her employment contract. Defendant moved to dismiss

the Complaint for failure to state a claim under Federal Rule of Civil Procedure 12(b)(6). In

conjunction with her response to the motion to dismiss, Plaintiff moved to amend her Complaint to

address certain pleading deficiencies identified by Defendant. The Court will analyze the motion

to dismiss in view of the facts alleged in the Complaint, and the Court will then consider whether

the proposed amendment to the Complaint should be permitted.1


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        Ordinarily, matters outside the pleadings may not be considered in ruling on a Rule 12(b)(6)
motion unless the motion is converted to one for summary judgment under Federal Rule of Civil
Procedure 56. Weiner v. Klais and Co., 108 F.3d 86, 89 (6th Cir. 1997). Any exhibit that is
attached to the Complaint is considered a part of the pleadings, however, and a defendant may attach

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                                             I. FACTS

       Plaintiff is a resident of Gallatin, Tennessee. Defendant is a foreign corporation with its

principal place of business in California. (Docket Entry No. 1, Complaint ¶¶ I-II.) On February

21, 2006, Defendant hired Plaintiff into the position of Technical Sales Specialist (“TSS”) for the

Nashville, Tennessee, territory to sell its products to medical professionals. (Id. ¶ VI, Ex. G.) At

the time of her employment, Plaintiff and Defendant’s Senior Manager for Human Resources, Maria

DeSantis, signed an offer letter. (Id. Ex. G.) The offer letter set forth the terms of Plaintiff’s

employment, including that the employment relationship was “at-will,” meaning that Plaintiff and

the company each retained the right to terminate Plaintiff’s employment at any time for any reason.

(Id. Ex. G at 2.) Plaintiff was required to drive to the locations where she would make sales calls,

and the offer letter provided that, if she were eligible, a company car would be provided to her;

otherwise, a rental car or car allowance would be provided. (Id., Ex. G at 1.)

       Plaintiff worked approximately seven (7) months as an excellent employee. (Id. ¶ IX.) In

July 2006, Plaintiff suffered one episode of major seizures. (Id. ¶ X.) Plaintiff’s seizure disorder

prevented her from driving a car for six (6) months from July 2006 to January 2007. (Id. ¶ VIII.)

During the first two weeks of August 2006, Plaintiff’s husband, Jeremy Campbell, drove Plaintiff

to the places where she made sales calls for Defendant. (Id. ¶ XI.) During another period of time,

employee trainees of the Defendant drove Plaintiff to her sales calls while she was training them for

the Defendant. (Id.)
       Plaintiff remained willing and able to work with this accommodation until she could drive

again, but the Defendant informed Plaintiff that she was fired due to her disability. (Id. ¶ XII; Exs.

E-F.) In a letter to Plaintiff dated August 7, 2006, DeSantis informed Plaintiff that the company

would allow technical services representatives to drive Plaintiff to her sales calls through



documents to a motion to dismiss if the documents are referred to in the complaint or if they are
central to the plaintiff’s claim. Jackson v. City of Columbus, 194 F.3d 737, 745 (6th Cir. 1999);
Weiner, 108 F.3d at 89.

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September 15, 2006, even though Plaintiff was “not able to fulfill the essential function of driving

for your job with us[.]” (Id., Ex. E at 1.) The letter further provided:

       By mid-September, you should have the results of all your medical diagnostic tests
       which will help us determine the length of your driving restrictions and your ability
       to work on your own. We hope you understand that we cannot in any way guarantee
       your job or leave the territory open and hold your position for you for the six-month
       period of time that your doctor has originally indicated you cannot drive.

       Assuming you are still on driving restrictions in mid-September which, as you
       mentioned, is very likely, you would be placed on a leave of absence until
       September 22, 2006. On that date, your employment would then terminate. You
       would, however, be eligible for Short Term Disability (STD) benefits for a period of
       three months assuming we receive the appropriate documentation from you and your
       physician. At the conclusion of that three month period you would then be eligible
       to apply for Long Term disability benefits through Prudential.

       Should your employment terminate on September 22, your health insurance benefits
       would remain at the same cost through the end of September. After that time, you
       would be eligible to apply for COBRA benefits at the COBRA rate.

       I have received your Short Term Disability paperwork. If it is determined that you
       cannot return to work, we will process the application at that time.

(Id., Ex. E at 1-2.) Plaintiff’s employment actually terminated effective October 2, 2006, and

Defendant’s Senior Benefits Administrator, Nancy Danez, stated in a letter to Plaintiff on that date

that Plaintiff’s “association with the company has ceased for reason of Disability.” (Id., Ex. F.)

       Following her termination, Plaintiff filed a charge on December 14, 2006, with the Equal

Employment Opportunity Commission (“EEOC”) alleging disability discrimination from July 25,

2006 to October 2, 2006. (Id., Ex. A.) She received a right-to-sue letter in March 2007, in which
the EEOC determined that Plaintiff’s allegations did not involve a disability as defined under the

ADA. (Id., Ex. B.) In April 2007 Plaintiff also filed a discrimination charge under the California

Department of Fair Employment and Housing Act (“FEHA”) and requested an immediate right-to-

sue letter, which she received. (Id., Exs. C-D.)

       Plaintiff alleged in her Complaint that, at all relevant times, she was a “disabled” individual

or she was perceived to be a disabled individual within the meaning of the ADA and/or the FEHA.

(Id. ¶ VIII.) Plaintiff alleged further that, during the period of her employment, she demonstrated
she could work despite her disability, and Defendant demonstrated it could accommodate her

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disability by allowing Jeremy Campbell to drive Plaintiff to her sales calls in his personal vehicle.

Plaintiff alleged this accommodation did not substantially interfere with her work performance. (Id.

¶ IX.)    Plaintiff also alleged that Defendant could have reasonably accommodated her seizure

disorder without enduring hardship by allowing Jeremy Campbell to drive Plaintiff during the period

she was medically unable to drive due to her seizure disorder. (Id. ¶ XIII.)

         Plaintiff asserted that the real reason for her discharge was: (A) her disability; (B) her history

of having a disability due to her seizure disorder; and (C) Defendant’s perception that Plaintiff’s

seizure disorder was a disability which prohibited her from working and/or driving. Therefore,

Plaintiff claimed that the Defendant violated the ADA and the FEHA. (Id. ¶¶ XIV-XV.) Plaintiff

further alleged that her discharge violated her employment contract in that she was entitled to a

bonus of an additional $34,000 for the last quarter and for the year. (Id. ¶ XVI.) Plaintiff requested

compensatory, liquidated, and punitive damages; front pay, back pay and unpaid bonuses;

reinstatement with reasonable accommodation; and attorney’s fees.

                                    II. STANDARD OF REVIEW

         In evaluating the Complaint under Rule 12(b)(6), the Court must accept as true all of

Plaintiff’s allegations and resolve all doubts in Plaintiff’s favor. See Morgan v. Church’s Fried

Chicken, 829 F.2d 10, 11-12 (6th Cir. 1987). While a complaint need not contain detailed factual

allegations, the Plaintiff must provide the grounds for her entitlement to relief, and this “requires

more than labels and conclusions, and a formulaic recitation of the elements of a cause of action.”

Bell Atlantic Corp. v. Twombly, 550 U.S. —, 167 L.Ed.2d 929, 940 (2007) (abrogating Conley v.

Gibson, 355 U.S. 41 (1957)). The factual allegations supplied must be enough to show a plausible

right to relief. Id. at 940-942. A complaint must contain either direct or inferential allegations

respecting all of the material elements to sustain a recovery under some viable legal theory. Id. at

944; Scheid v. Fanny Farmer Candy Shops, Inc., 859 F.2d 434, 436 (6th Cir. 1988).




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                                           III. ANALYSIS

A. The ADA claim

         The ADA provides that “[n]o covered entity shall discriminate against a qualified individual

with a disability because of the disability of such individual in regard to . . . discharge . . . and other

terms, conditions, and privileges of employment.” 42 U.S.C. § 12112(a). To establish a prima facie

ADA case, Plaintiff must show (1) that she is an individual with a disability, (2) who was otherwise

qualified to perform her job's requirements, with or without reasonable accommodation, and (3) who

was discriminated against solely because of the disability. See Mahon v. Crowell, 295 F.3d 585,

589 (6th Cir. 2002).

         A threshold question raised in Defendant’s motion to dismiss is whether Plaintiff is an

individual with a disability within the meaning of the ADA. To be "disabled" for purposes of the

ADA, an individual must (1) have a physical or mental impairment which "substantially limits" her

in at least one "major life activity," or (2) have a record of such an impairment, or (3) be regarded

as having such an impairment. See 42 U.S.C. § 12102(2). The term “substantially limits” means

the disability affects activity to a considerable or large degree. Toyota Motor Mfg., Kentucky, Inc.

v. Williams, 534 U.S. 184, 122 S. Ct. 681, 691 (2002). Major life activities are of central

importance to daily life and include caring for one's self, performing manual tasks, walking, seeing,

hearing, speaking, breathing, learning, and working. 29 C.F.R. § 1630.2(i); Workman v. Frito Lay,
Inc., 165 F.3d 460, 467 (6th Cir. 1999). These terms are to be interpreted strictly to create a

demanding standard for a person to qualify as “disabled.” Williams, 122 S.Ct. at 689. There is no

blanket rule to use to determine whether a claimant is disabled. "Congress intended the existence

of a disability to be determined in . . . a case-by-case manner." Id. at 692. The determination as to

whether an individual is substantially impaired in a major life activity is made as of the time that the

adverse employment decision was taken. Kocsis v. Multi-Care Mgt., Inc., 97 F.3d 876, 884 (6th Cir.

1996).          1. Plaintiff’s Complaint

         Plaintiff cannot allege facts to show that she is a qualified individual with a disability.

Plaintiff alleged in her Complaint that she experienced one episode of seizures in July 2006, but she

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did not specify any major life activity, such as caring for herself, performing manual tasks, walking,

seeing, hearing, speaking, breathing, or learning, that was substantially impaired by her seizure

disorder. The only reference to major life activities Plaintiff made in her Complaint was in

conjunction with her “regarded as” theory, when she alleged that Defendant held a “perception that

Plaintiff’s seizure disorder was a disability which prohibited her from working and/or driving.”

Although Plaintiff included this allegation only in connection with her “regarded as” theory, the

Court will nonetheless assume the allegation also applies to Plaintiff’s claim that she is disabled

within the meaning of the ADA, that is, she is a qualified individual with a disability.

        “When the major life activity under consideration is that of working, the statutory phrase
‘substantially limits’ requires, at a minimum, that plaintiffs allege they are unable to work in a broad

class of jobs.” Sutton v. United Air Lines, Inc., 527 U.S. 471, 491 (1999).            Under the EEOC

regulation, a plaintiff must allege that she is

        significantly restricted in the ability to perform either a class of jobs or a broad range
        of jobs in various classes as compared to the average person having comparable
        training, skills and abilities. The inability to perform a single, particular job does not
        constitute a substantial limitation in the major life activity of working.

29 C.F.R. § 1630.2(j)(3)(I); Sutton, 527 U.S. at 491; Burns v. Coca-Cola Enter., Inc., 222 F.3d 247,

253 (6th Cir. 2000).

        Plaintiff did not include any such factual allegations in her Complaint. Plaintiff alleges that

she was an excellent employee who could meet the demands of her sales position even after the

seizure disorder appeared, with the exception that she could not drive for a six-month period as

directed by her doctor. She does not allege that she could not perform either a class of jobs or a

broad range of jobs in various classes as compared to the average person having comparable

training, skills, and abilities.

        Further, suffering occasionally from seizures, especially if the seizures can be controlled by

medication, is not recognized as a disability under the ADA. See e.g. Cash v. Smith, 231 F.3d 1301,

1306 (11th Cir. 2000). Plaintiff does not allege that she was diagnosed with epilepsy before her
termination in 2006, a condition which does qualify as a disability under the ADA. See 29 C.F.R.


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§ 1615.103(1)(ii) (including “epilepsy” in the definition of “physical or mental impairment”);

Lovejoy-Wilson v. Noco Motor Fuel, Inc., 263 F.3d 208, 216 (2nd Cir. 2001).

       Further, an inability to drive due to a seizure disorder does not qualify an individual as

disabled under the ADA. See Chenoweth v. Hillsborough County, 250 F.3d 1328, 1329 (11th Cir.

2001) (noting “driving” is not only absent from the statutory list of major life activities, but driving

is “conspicuously different in character from the activities that are listed.”); Colwell v. Suffolk

County Police Dept., 158 F.3d 635, 643 (2nd Cir. 1998) (driving is not a major life activity);

Robinson v. Lockheed Martin Corp., 212 Fed.Appx. 121 (3rd Cir. 2007) (unpublished) (same). Thus,

Plaintiff has not adequately stated facts to support a claim that she has a physical or mental

impairment which "substantially limits" her in at least one "major life activity."

       Alternatively, to establish a prima facie case, a plaintiff may be able to allege facts to show

that she has a record of an impairment that substantially limits one or more major life activities. 42

U.S.C. § 12102(2)(B). This provision is intended “‘to ensure that people are not discriminated

against because of a history of disability.’” Colwell, 158 F.3d at 645 (quoting 29 C.F.R. pt. 1630

App., § 1630.2(k)). The regulation provides:

       This part of the definition is satisfied if a record relied on by an employer indicates
       that the individual has or has had a substantially limiting impairment. The
       impairment indicated in the record must be an impairment that would substantially
       limit one or more of the individual’s major life activities.

29 C.F.R. pt. 1630 App., § 1630.2(k).

       Plaintiff has not alleged in her Complaint that she had a history of disability and that her

employer improperly discriminated against her based on that history. See Colwell, 158 F.3d at 645.

Thus, this theory fails as well.

       Finally, Plaintiff’s third alternate theory is that Defendant regarded her as having an

impairment considered disabling under the ADA. There are two ways a plaintiff can proceed on a

“regarded as disabled” theory. First, a plaintiff can allege that her employer was under the mistaken

belief that she was disabled, when in fact she was not. Sutton, 527 U.S. at 489. Second, a plaintiff
can allege that she actually has a physical impairment, and the employer knows of it, but the

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employer mistakenly believes that the plaintiff is disabled because of the impairment when in fact

she is not. Id.; EEOC v. Watkins Motor Lines, Inc., 463 F.3d 436, 443 (6th Cir. 2006). “In both

cases, it is necessary that a covered entity entertain misperceptions about the individual–it must

believe either that one has a substantially limiting impairment that one does not have or that one has

a substantially limiting impairment when, in fact, the impairment is not so limiting.” Sutton, 527

U.S. at 489. Congress adopted this part of the statute to combat the effects of employers’ erroneous

fears and stereotypes about disabled individuals. Id.

        Plaintiff did not allege in the Complaint facts to support either of these two methods of proof

to proceed on the “regarded as disabled” theory. The Complaint alleged that “[t]he real reason for

Plaintiff’s discharge was: . . . (C) Defendant’s perception that Plaintiff’s seizure disorder was a

disability which prohibited her from working and/or driving.” (Complaint ¶ XIV.) Under Sutton,

however, Defendant’s perception must have been a mistaken perception. The Complaint contains

absolutely no factual allegations elucidating Defendant’s mistaken belief that Plaintiff’s seizure

disorder was a disability which prohibited her from engaging in the major life activity of working.

This theory might have application if Plaintiff had alleged that Defendant denied her employment

on a mistaken belief that she was unable to fulfill the requirements of the position for which she

applied. But here, Plaintiff alleges that she was hired, that she worked for several months as an

excellent employee, and that she continued to work for the Defendant even after her seizure disorder

first appeared.

        Additionally, Plaintiff did not allege, nor does it appear she could allege, that Defendant

mistakenly believed Plaintiff was disabled due to a substantial limitation on her ability to drive when

in fact she was not so limited. Plaintiff was limited in her ability to drive on orders of her physician.

Defendant was not mistaken about that fact. Because the Complaint alleges that both Plaintiff and

Defendant knew of the actual six-month driving restriction, Plaintiff cannot proceed on a theory that

Defendant mistakenly thought Plaintiff was limited in her driving.




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       Plaintiff has not alleged that, at the time of her termination on October 2, 2006, she was

unable to work in a broad class of jobs or a broad range of jobs in various classes as compared to

the average person having comparable training, skills and abilities, 29 C.F.R. § 1630.2(j)(3)(i);

Burns, 222 F.3d at 254 (and cases cited therein), nor has she properly alleged that at the time of her

termination she had a record of such impairment or that Defendant regarded her as having such an

impairment. For these reasons, Plaintiff fails to state a claim under the ADA.

       2. Plaintiff’s proposed amendments to the ADA claim

       Plaintiff’s proposed amendments to her Complaint will not resolve the deficiencies noted.

Plaintiff proposes to add more detail about her medical condition in paragraph VIII of the

Complaint. That paragraph as amended would state in pertinent part:

       Specifically, Plaintiff suffers from a seizure disorder. She has had recurrent periods
       of vertigo and hazy thinking for a year before they were diagnosed as seizures. Dr.
       Cruz, her initial neurologist, on July 26, 2006 ordered her to not drive and to avoid
       any potentially dangerous activities that may result in injury to herself or others. Dr.
       Cruz initially prevented her from driving a car for periods of time, including six (6)
       months from July, 2006 to January, 2007. Dr. Rutland, her current neurologist, has
       prohibited her from driving, operating heavy or hazardous machinery and from
       working under the following environmental restrictions: heights, moving machinery,
       temperature extremes, chemicals, and fumes from January 2007 and August 2007.
       (sic) The disability substantially limits her in the major life activity of working and
       has now for over one year. Her restrictions prevent her from working a broad range
       or class of jobs.

The new allegations that Plaintiff experienced periods of vertigo and hazy thinking before she

suffered the July 2006 episode of seizure activity does not change in any way the Court’s analysis

above that Plaintiff failed to allege facts showing she had a disability that substantially limited a

major life activity at the time her employment was terminated in October 2006. At most, these facts

add some context to the onset of Plaintiff’s medical condition. Plaintiff does not allege that

Defendant knew about her periods of vertigo and hazy thinking or that her ability to work or drive

was in any way affected by vertigo and hazy thinking before July 2006. The additional facts about

the initial driving restriction imposed by Dr. Cruz also do not change the Court’s analysis.

       It is not relevant to the ADA analysis that Plaintiff’s driving restriction apparently extended

into 2007 and that her current neurologist has imposed additional restrictions. The Court must


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consider only what the employer knew on October 2, 2006, when it discharged Plaintiff from

employment. See Kocsis, 97 F.3d at 884. Plaintiff’s proposed allegations that “[t]he disability

substantially limits her in the major life activity of working and has now for over one year[,]” and

“[h]er restrictions prevent her from working a broad range or class of jobs, appear to be directed to

the present time, and not to October 2006 when Defendant took adverse employment action against

the Plaintiff. Such allegations are not relevant. Even if they were, they contradict other factual

allegations Plaintiff retains in the proposed Amended Complaint (paragraph IX) that as of the time

of her termination, she could perform all of the essential functions of her job (and presumably many

other jobs) with the exception that she could not drive for a limited period. While it may be that

Plaintiff’s medical condition unfortunately worsened after October 2006, such a development is not

pertinent to the Court’s analysis of whether the Defendant violated the ADA on October 2, 2006.

        Another proposed amendment is that in paragraph X Plaintiff would change the sentence

“Plaintiff only had one episode of major seizures during the seven and one-half months (7 ½) she

was employed with Defendant[,]” to: “Plaintiff suffered regularly with seizures but only had one

episode of tonic clonic seizure during the seven and one-half months (7 ½ ) she was employed by

the Defendant.” Again, this proposed change would not alleviate any of the problems noted in the

Court’s analysis above.

        The last proposed amendment concerning the ADA (aside from clarifying language in

paragraph IX and incorporation by reference of exhibits attached to the Complaint in paragraph XII),

appears in paragraph XIV, where Plaintiff would state that the real reason for her discharge was:

“A. Plaintiff’s disability of a seizure disorder which substantially limits her in the major life activity

of working and/or is limited in a major life activity of working and driving[.]” The Court previously

analyzed whether Plaintiff could state an ADA claim where the substantial limitation asserted was

in the major life activities of working and driving. The Court concluded that Plaintiff failed to state

a claim. The Court finds that it would be futile to allow Plaintiff to amend her Complaint to make

these proposed changes to her ADA claim.


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B. The FEHA claim

       The California FEHA was enacted for the benefit of California citizens and it is not to be

construed to apply to nonresidents employed outside the State of California when the tortious

conduct did not occur in California. Campbell v. Arco Marine, Inc., 50 Cal. Rptr. 2d 626, 632-633

(Cal. Ct. App. 1996) (“Without clearer evidence of legislative intent to do so than is contained in

the language of the FEHA, we are unwilling to ascribe to that body a policy which would raise

difficult issues of constitutional law by applying this state’s employment-discrimination regime to

nonresidents employed outside the state.”). There is some authority, however, that a non-resident

may sue under the FEHA in California court if the tortious conduct occurred in California. See e.g.

Dodd-Owens v. Kyphon, Inc., 2007 WL 420191 (N.D. Cal. Feb. 5, 2007); Roger-Vasselin v.

Marriott Int’l, Inc., 2006 WL 2038291 (N.D. Cal. July 19, 2006). Plaintiff has not cited any case

recognizing the authority of a federal district court outside of California to apply California’s FEHA

to one who is not a California resident.

       Even assuming the Court may exercise jurisdiction over this claim, Plaintiff’s Complaint

contains bare allegations that “Defendant through its Human Resources Department made the

determination to terminate Plaintiff in San Diego, California[,]” and that the employment contract

between the parties was to be governed by and construed under California law as if the agreement

were performed entirely in California between California residents. (Complaint ¶ VII.) The Court

concludes that these minimal and conclusory allegations are insufficient to show that Plaintiff has

a plausible right to relief under the FEHA. See Bell Atlantic Corp., 550 U.S. —, 167 L.Ed.2d at

940.   Plaintiff seeks to amend her Complaint so that paragraph VII reads as follows:

               Defendant through its Human Resources Department made the determination
       to terminate Plaintiff in San Diego, California. Maria DeSanctis (sic) in the Human
       Resource Department made the decision to terminate Plaintiff from her location in
       California. That Nancy Danez, Senior Benefits Administrator for Prometheus,
       ratified from California the decision to terminate Plaintiff from her location in
       California. The employment contract stipulated that:

               This agreement will be governed by and construed according to the
               laws of the State of California, as such laws are applied to agreements


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               extended into and to be performed entirely within California between
               California residents.

       The employment contract also mentioned and was governed pursuant to California
       laws. The notification of dismissal for disability came from another employee in
       California. All of these facts regarding the employment contract and the termination
       of that contract allow this action to be maintained under the California Fair
       Employment and Housing Act.

(Docket Entry No. 33-2, Proposed Amended Complaint.)

       It would be futile to allow Plaintiff to amend her Complaint in this way. Plaintiff’s proposed

amendment does not allege sufficient facts to show how the making and approval of a decision to

terminate Plaintiff’s employment in California constitutes a violation of FEHA. It is not relevant
to the FEHA analysis that Plaintiff’s offer letter stated it was governed by California law, that the

offer letter was signed in accordance with the California Labor Code, or that Defendant considered

Plaintiff’s eligibility for leave under the California Family Rights Act. The issue is whether Plaintiff

states a claim under FEHA, and the Court holds she has not alleged sufficient facts to set forth such

a claim, even if her Complaint is amended as she proposes. Moreover, like the ADA, the FEHA

does not “provide statutory protection to persons whose conditions have rendered them unable to

meet their employer’s requirements for a particular job, but who are otherwise physically able to

work elsewhere in their chosen profession.” Maloney v. Anr Freight Sys., 16 Cal. App. 4th 1284,

1287 (Cal. Ct. App. 1993). For the same reasons Plaintiff’s ADA claim fails, her FEHA claim fails.

C. The breach of contract claim

       Plaintiff alleges that the offer letter she and DeSantis signed in February 2006 (Complaint

Ex. G) constitutes an employment contract. The letter set forth in detail the terms of Plaintiff’s

employment. The letter then stated in pertinent part:

       This letter, together with your Proprietary Information and Inventions Agreement
       and the Policies & Procedures, forms the complete and exclusive statement of the
       terms of your employment with the Company. The employment terms in this letter
       supersede any other agreements or promises made to you by anyone, whether oral
       or written. . . . This Agreement will be binding upon your heirs, executors,
       administrators and other legal representatives and will be for the benefit of the
       Company, its successors, and its assigns.

(Ex. G at 2.) At the conclusion of the letter, DeSantis instructed Plaintiff: “Please sign, date and

return this letter as soon as possible if you wish to accept employment with the Company under the

terms described above.” (Ex. G at 3.)
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       The Court agrees with Plaintiff that the signed offer letter constitutes a contract of

employment. However, the parties expressly agreed in the contract that Plaintiff would be employed

at-will for an indefinite term. Thus, Plaintiff’s employment could be terminated at any time for any

reason by either party. See Dore v. Arnold Worldwide, Inc., 139 P.3d 56, 59-61 (Cal. 2006); Guy

v. Mutual of Omaha Ins. Co., 79 S.W.3d 528, 535 (Tenn. 2002).

       As to bonuses, the offer letter stated:

       You will participate in a bonus and sales commission program in which payouts
       under the current program are made during the month following the close of each
       quarter. You will be eligible for this program on your first full day in this role.
       Details regarding this program will be provided to you during orientation.

(Ex. G at 1.) The parties’ agreement did not explicitly specify whether Plaintiff would be entitled

to bonuses in the event her employment were terminated at will.

       Defendant presents a copy of the “Technical Sales Specialist 2006 Incentive Compensation

Guidelines.”2 (Docket Entry No. 32-3.) The Incentive Compensation Guidelines provided:

“Involuntary Termination: In order to be eligible to receive bonus under the Incentive Compensation

Plan, a sales employee must be actively employed with [Defendant] at the time incentive

compensation checks are issued.” (Id. at 14.) The document further provided that the projected pay

date for bonuses for the third quarter of 2006 was December 1, 2006, and for the fourth quarter of

2006 was February 23, 2007. (Id. at 12.)

       Plaintiff’s employment with the Defendant ended effective October 2, 2006. Therefore,

Plaintiff was not employed with Defendant on December 1, 2006 to receive any bonus payout for

the third quarter, nor was she employed with Defendant on February 23, 2007, to receive a bonus

payout for the fourth quarter. Because Plaintiff was not employed on the applicable payout dates,

she was ineligible under the terms of the plan to receive bonuses.



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        Although this document is not mentioned by name in the Complaint or in the offer letter
attached to the Complaint, the offer letter references details of the bonus and sales commission
program to be provided to Plaintiff at orientation, and the document is central to Plaintiff’s breach
of contract claim. See Jackson, 194 F.3d at 745. Thus, the Court does not believe that it converts
the motion to dismiss to one for summary judgment by considering the contents of this document.
See Weiner, 108 F.3d at 89.


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       Plaintiff alleged in her original Complaint at paragraph XVI: “Plaintiff was entitled, pursuant

to her contract, to a bonus of an additional $34,000.00 for the last quarter and the year. (See

Employment Contract attached hereto as Exhibit ‘G.’)”

       Plaintiff seeks to amend her Complaint at paragraph XVI to read: “Plaintiff was entitled,

pursuant to her contract, to bonuses for the last quarter and the year. (See Employment Contract

attached hereto as Exhibit ‘G’and incorporated herein by reference.)” (Docket Entry No. 33-2.)

       Simply amending the Complaint to eliminate a specific reference to $34,000 in bonuses and

to incorporate Exhibit G by reference will not alleviate the larger problem Plaintiff faces in stating

a claim for breach of contract. Plaintiff’s employment contract was silent on the issue whether she

was eligible to receive bonuses following an involuntary termination. The contract stated that

Defendant would provide Plaintiff with additional details about the bonus program during

orientation. The Incentive Compensation Plan makes clear that Plaintiff was required to be

employed by Defendant on December 1, 2006 and February 23, 2007 in order to receive bonus

checks for the third and fourth quarters of 2006. Plaintiff’s at-will employment terminated two

months before the first payout date. Because Plaintiff cannot allege that Defendant was under a

contractual obligation to pay her bonuses “for the last quarter and the year,” Plaintiff fails to state

a claim for breach of contract.

                                        IV. CONCLUSION

       For all of the reasons stated, Defendant Prometheus Laboratories, Inc.’s Motion To Dismiss

Plaintiff’s Complaint (Docket Entry No. 22), will be granted. Plaintiff’s Motion For Leave To

Amend Complaint (Docket Entry No. 33) will be denied because granting leave to amend the

Complaint would be futile. This case will be dismissed with prejudice.

       An appropriate Order will be entered.



                                                       ______________________________________
                                                       ROBERT L. ECHOLS
                                                       UNITED STATES DISTRICT JUDGE


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